Case 14-10979-CSS Doc 800-1 Filed 06/04/14 Page1of6

EXHIBIT 1

Revised Utility Service List

Case 14-10979-CSS Doc 800-1 Filed 06/04/14 Page 2 of 6

"1Stel Incorporated

Utility Service List

Telephone/Internet/Cable

205 E. Henderson Street
Cleburne, TX 76031

Abilene Regional Landfill

Waste Management/Recycling

FM 3034, Off Highway 277
Abilene, TX 79601

Abovenet Communications
Incorporated

Telephone/Internet/Cable

360 Hamilton Avenue
7th Floor
White Plains, NY 10601-1811

AEP Texas Central Company TDSP | Riverside Plaza
Columbus, OH 43215-2372
AEP Texas North Company TDSP | Riverside Plaza

Columbus, OH 43215-2372

Allied Waste Services #058

Waste Management/Recycling

5001 Pine Street
Abilene, TX 79601-1028

Allied Waste Services #069

Waste Management/Recycling

18500 N. Allied Way, Suite 100
Phoenix, AZ 85054

Allied Waste Services #794

Waste Management/Recycling

18500 N, Allied Way, Suite 100
Phoenix, AZ 85054

American Messaging

Telephone/Internet/Cable

American Messaging
1720 Lakepointe Drive
Lewisville, TX 75057

Aqua Water Supply
Corporation

Water/Sewer

415 Old Austin Highway
Drawer P
Bastrop, TX 78602

Atmos Energy Corporation

Natural Gas

P.O. Box 650205
Dallas, Texas 75265-0205

AT&T Incorporated

Telephone/Internet/Cable

One AT&T Way
Bedminster, NJ 07921-0572

AT&T Internet Services
Incorporated

Telephone/Internet/Cable

208 S, Akard Street
Dallas, TX 75202

AT&T Mobility LLC

Telephone/Internet/Cable

1025 Lenox Park
Boulevard NE Room A325
Atlanta, GA 30319

AT&T Opus Billing

Telephone/Internet/Cable

10110 Battleview Parkway

Department Manassas, VA 20109
BCS Stop & Go Portable Waste Management 8825 Stewarts Meadow
College Station, TX 77845
Bi-County Water Supply Water/Sewer 4094 FM 2254
Incorporated Pittsburgh, TX 75686
Bluebonnet Electric Coop Electric 155 Electric Avenue
Incorporated Bastrop, TX 78602
Bowie-Cass Electric Electric 117 North Street

Cooperative

Douglassville, TX 75560

Bullard Incorporated

Portable Waste Management

2000 W. Oak Street
Palestine, TX 75801

Cactus Environmental Services

Waste Management/Recycling

4960 Singleton Boulevard
Dallas, TX 75212

Case 14-10979-CSS Doc 800-1 Filed 06/04/14 Page 3 of 6

Cellular One

Telephone/Internet/Cable

2401 W, Jefferson Street
Springfield, IL 62702

Centerpoint Energy, TDSP 1111 Louisiana Street

Incorporated Houston, TX 77002

Century Link Telephone/Internet/Cable 100 Centurylink Drive
Monroe, LA 71203

City Of Coppell Water/Sewer 255 Parkway Boulevard
Coppel, TX 75019-9478

City Of Fairfield Water/Sewer 222 S. Mount Street
Fairfield, TX 75840

City Of Garland Water/Sewer 2343 Forest Lane
Garland, TX 75042

City Of Glen Rose Water/Sewer 201 NE Vernon Street
Glen Rose, TX 76043

City Of Graham Water Water/Sewer 429 4th Street

Department Graham, TX 76450

City Of Granbury Municipal Water/Sewer 1800 Waters Edge Drive
Granbury, TX 76048

City Of Irving Water/Sewer 825 W. Irving Boulevard,
Irving, TX 75060

City Of Mesquite Water/Sewer 757 N. Galloway Avenue

Mesquite, TX 75149

City Of Monahans Waste Management/Recycling 112 W. 2nd Street
Monahans, TX 79756
City Of Savoy Water/Sewer City Hall
405 E. Hayes Street
Savoy, TX 75479
City Of Sulphur Springs Water/Sewer Water Department
125 8. Davis Street
Sulphur Springs, TX 75482
City Of Sweetwater Water/Sewer 200 E. 4th Street
Sweetwater, TX 79556
City Of Trinidad Water/Sewer 212 Park Street

Trinidad, TX 75163

Clean Harbors

Hazardous Waste

42 Longwater Drive
Norwell, MA 02061-9149

Colorado River Municipal
Water District

Water/Sewer

400 E. 24th Street
Big Spring, TX 79720

Commercial Metals Company

Waste Management/Recycling

6565 N. Macarthur Boulevard, Suite
800

Irving, TX 75039
Consolidated Communications | Telephone/Internet/Cable 121 S. 17th Street
Mattoon, IL 61938
Crims Chapel Water Supply Water/Sewer 1917 E. Main Street
Corporation Hendersonville, TX 75652
Dallas Water Utilities Water/Sewer 1500 Marilia Suite 1 AN
Dallas, TX 75277
Direct Energy Business Electric 1001 Liberty Avenue, Suite 1200

Pittsburgh, PA 15222

Case 14-10979-CSS Doc 800-1 Filed 06/04/14 Page 4of6

Dish Network

Telephone/Internet/Cable

9601 S. Meridian Boulevard
Englewood, CO 80112

Duncan Disposal

Waste Management/Recycling

8820 W. Highway 80
Midland, TX 79706

Eastex Telephone

Telephone/Internet/Cable

3675 U.S. Highway 79 S
Henderson, TX 75654

Effective Environmental
Incorporated

Waste Management/Recycling

2515 South Beltline Road
Mesquite, TX 75181-2015

EOL Water Supply Water/Sewer 9226 Elk Road
Corporation Axtell, TX 76624
ERCOT Electric 7620 Metro Center Drive
Austin, TX 78744
Fairplay Water Supply Water/Sewer 227 County Road 212
Corporation Beckville, TX 75631

FCC Environmental LLC

Waste Management/Recycling

523 North Sam Houston Parkway E.
#400
Houston, TX 77060

Fort Worth Water Department

Water/Sewer

908 Monroe Street
Fort Worth, TX 76161-0003

GLM Incorporated

Waste Management/Recycling

17300 Preston Road Suite 300
Dallas, TX 75252

Glowpoint Incorporated

Telephone/Internet/Cable

5740 Ralston Street Suite 304

Ventura, CA 93003
H & H Water Supply Water/Sewer 192 Old Hailsburd Road
Corporation Riesel, TX 76682
Inter-County Communications | Telephone/Internet/Cable 222 Linda Drive
Incorporated Sulphur Springs, TX 75482

Itasca Landfill

Waste Management/Recycling
Service

2559 FM 66
Itasca, TX 76055

Level 3 Communications LLC

Telephone/Internet/Cable

1025 Eldorado Boulevard
Broomfield, CO 80021

Lower Colorado River Water/Sewer 3700 Lake Austin Boulevard

Authority Austin, TX 78703

Lubbock Electric Company Electric 1108 34th Street

Incorporated Lubbock, TX 79411

Mexia Landfill Waste Management/Recycling 3048 County Road 460
Service Mexia, TX 76667

Midstate Environmental Waste Management/Recycling 2203 Tower Road

Services (Or Service Robstown, TX 78380

Midstate Environmental

United)

Mitchell County Utility Water/Sewer 5353 Lake County Road 256

Company Colorado City, TX 79512

Navarro County Electric Coop | Electric 3800 Texas 22

Incorporated Corsicana, TX 75110

Navasota Valley Electric Electric 2281 E. U.S. Highway 79

Franklin, TX 77856
New Prospect Water Supply Water/Sewer 2937 State Highway 43 E.

Corp

Henderson, TX 75652

Case 14-10979-CSS Doc 800-1 Filed 06/04/14 Page 5of6

Nueces Electric Cooperative

TDSP 14353 Cooperative Avenue
Corpus Christi, TX 78380
Oncor Electric Delivery TDSP 1616 Woodall Rodgers Freeway

Company LLC

Dallas, TX 75202

Pinehill Landfill

Waste Management/Recycling
Service

Interstate 20
Kilgore, TX 75662

Pleasant Oaks Landfill TX LP

Waste Management/Recycling
Service

3031 Farm Road 3417
Mt Pleasant, TX 75455

Port-A-Jon Portable Waste Management 212 Michael Drive
Longview, TX 75602
Progress Energy Electric 401 S. Wilmington Street

Raleigh, NC 27601

Progressive Waste Solutions

Waste Management/Recycling

2301 Eagle Parkway Suite 200

Fort Worth, TX 76177
Progressive Water Treatment Water/Sewer 2535 E. University Drive

McKinney, TX 75069
Republic Services National Waste Management/Recycling 18500 North Allied Way

Service Phoenix, AZ 85054

Robertson County Water Water/Sewer 1418 U.S. Highway 79

Franklin, TX 77856
Rock Hill Water Supply Water/Sewer 227 County Road 212
Corporation Beckville, TX 75631
Rusk County Electric Electric 3162 State Highway 43 E.

Cooperative Incorporated

Henderson, TX 75652

Set Environmental

Waste Management/Recycling

450 Sumac Road

Incorporated Wheeling, IL 60090

Sharyland Utilities LP TDSP 1807 Ross Avenue, Suite 460
Dallas, TX 75201

Somervell County Water Water/Sewer 2099 County Road 301

District Glen Rose, TX 76043

Southwest Fannin County Water/Sewer Water Supply Corporation

8046 W. Highway 56
Savoy, TX 75479

Southwestern Bell Telephone

Telephone/Internet/Cable

1 Bell Centre
St. Louis, MO 63101-3004

Southwestern Electric Power Electric 428 Travis Street
Company Shreveport, LA 71101
Sprint Telephone/Internet/Cable 6200 Sprint Parkway

Overland Park, KS 66251-4300

Starboard Environmental Audit
Services Inc

Hazardous Waste

3200 Stagecoach Ranch Loop

Dripping Springs, TX 78620

Stryker Lake WSC Water/Sewer 2761 County Road 4501
New Summerfield, TX 75780
Suddenlink Telephone/Internet/Cable 12444 Powerscourt Drive Suite 450

St. Louis, MO 63131

Texas Disposal Services

Waste Management/Recycling

12200 Cari Road
Creedmoor, TX 78610-2184

Texas-New Mexico Power
Company

TDSP

577 North Garden Ridge Boulevard
Lewisville, TX 75067

Case 14-10979-CSS Doc 800-1 Filed 06/04/14 Page 6of6

Time Warner Cable

Telephone/Internet/Cable

60 Columbus Circle

New York, NY 10023

Town Of Sunnyvale Water/Sewer 127N, Collins Road
Sunnyvale, TX 75182-9516
Tri Special Utility District Water/Sewer 300 W. 16th Street
Mt. Pleasant, TX 75455
Tri-County Electric Coop Electric 600 NW Parkway
Incorporated Azle, TX 76020
United Cooperative Services Electric PO Box 290

Stephenville, TX 76401

United Recycler Services
Incorporated Midstate
Environmental Services

Waste Management/Recycling

1340 Manufacturing Street
Dallas, TX 75207

Universal Recycling
Technologies

Waste Management/Recycling

2535 Beloit Avenue
Janesville, WI 53546

Universal Vacuum Services

Waste Management/Recycling

1602 S. Market Street
Hearne, TX 77859

Upshur Rural Electric Co-Op

Electric

1200 W. Tyler Street
Gilmer, TX 75644

Verizon Business

Telephone/Internet/Cable

22001 Loudoun County Parkway
Ashburn, VA 20147-6105

Verizon Southwest

Telephone/Internet/Cable

600 Hidden Ridge
Irving, TX 75038

Verizon Wireless

Telephone/Internet/Cable

140 West Street
New York, NY 10007

Waste Management

Waste Management/Recycling

1001 Fannin, Suite 4000
Houston, TX 77002

Windstream Communications

Telephone/Internet/Cable

4001 Rodney Parham Road
Building 1!
Little Rock, AR 72212

Wood County Electric

Electric

501 S. Main Street
P.O. Box 1827
Quitman, TX 75783

